            Case 1:13-cv-00966-RJL Document 122 Filed 04/29/21 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

NATIONAL ASSOCIATION OF MUTUAL                        )
INSURANCE COMPANIES,                                  )
                                                      )
               Plaintiff,                             )
                                                      )
       v.                                             )       No. 1:13-cv-00966 (RJL)
                                                      )
UNITED STATES DEPARTMENT OF                           )
HOUSING AND URBAN DEVELOPMENT,                        )
et al.,                                               )
                                                      )
               Defendants.                            )
                                                      )

                                 NOTICE OF STATUS UPDATE

       Plaintiff National Association of Mutual Insurance Companies writes to notify the Court of

a status update in the parallel litigation challenging the validity of the Department of Housing and

Urban Development’s 2013 Disparate-Impact Rule in the Northern District of Illinois. See Prop-

erty Casualty Insurers Association of America v. Donovan, Civ. No. 13-8564 (N.D. Ill.). The dis-

trict court in that case held a status conference yesterday to determine whether the parties should

proceed to summary judgment on the validity of the 2013 Rule or whether the case should continue

to be stayed in light of HUD’s April 12 submission of a proposed rule entitled “Reinstatement of

HUD’s Discriminatory Effects Standard (FR-6251)” to the Office of Management and Budget for

interagency review. See D. Ct. Dkt. 215; see also D. Ct. Dkt. 212 (joint status report). HUD,

represented by the same counsel as in this case, expressed its view that the 2013 Rule is currently in

effect and enforceable. The district court denied the government’s request for a further stay and

ordered the parties to move forward with briefing on their cross-motions for summary judgment.

See D. Ct. Dkt. 216. For the reasons previously stated, plaintiff believes that it would be appropriate

for this Court similarly to proceed to oral argument on the motions for summary judgment here.
         Case 1:13-cv-00966-RJL Document 122 Filed 04/29/21 Page 2 of 2




                                          Respectfully submitted,

                                          /s/ Kannon K. Shanmugam
                                          Kannon K. Shanmugam (#474304)
                                          PAUL, WEISS, RIFKIND,
                                            WHARTON & GARRISON LLP
                                          2001 K Street, N.W.
                                          Washington, DC 20006
                                          Telephone: (202) 223-7300
                                          Facsimile: (202) 223-7420
                                          kshanmugam@paulweiss.com

                                          Counsel for Plaintiff
                                          National Association
                                          of Mutual Insurance Companies

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